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         1. Attorney’s Fees Billed by Parrish Law Offices (ECF No. 66-2 at 28–44)

Date         Pl’s Description         Hours      Hours     Amount      Reasoning
                                      Claimed    Awarded   Awarded *

11/17/2017 “Follow up with Lambert 1.00          0         0           A
           and Council re L. Smith
           remanded case”
11/20/2017 “Revision of            0.25          0         0           A
           reconsideration for L.
           Smith”
02/08/2018 “Linda Smith appeals”   1.25          0         0           A
03/19/2018   “Hearing for Linda Smith 0.75       0         0           A
             with Judge Woodyard”
03/29/2018   “Telephone conference L. 0.50       0         0           A
             Smith; review of ABN
             and email for her to send
             to Medtronic; email
             response to Linda
             Ostrow”
05/15/2018   “Linda Smith emails re    0.25      0         0           A
             supplies”
06/08/2018   “ALJ request and emails 0.75        0         0           A
             re same; telephone
             conference re mom in
             Colorado”
06/18/2018   “Emails Linda Smith re 0.33333      0         0           A
             appeals”
06/28/2018   “Requested LS             0.16667   0         0           A
             participation in Judge
             Sardinas hearing (18-01);
             called OMHA about DOS
             on NOH and s/w Sonia
             (x2).”
07/23/2018   “Linda Smith appeals”     0.75      0         0           A




                                                     1
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Date         Pl’s Description        Hours     Hours     Amount    Reason
                                     Claimed   Awarded   Awarded   For
                                                                   Deduction
08/20/2018   “Telephone              0.25      0         0         A
             conference and Emails
             re extension.”
11/20/2018   “PHB for combined       0.50      0         0         A
             case.”
11/21/2018   “attn to settlement     0.50      0         0         A
             agreement”
12/11/2018   “hearing with ALJ,      2.40      0         0         A
             prep for same, t/c
             Linda Smith”
12/18/2019   “revise/review memo 3.60          0         0         A
             re: CMS 1682R and
             Medtronic devices”
2/19/2019    “attended hearing       2.20      0         0         A
             with ALJ, t/c Linda
             Smith re: same, t/c
             Debbie Parrish re:
             same”
03/01/2021   “research re complaint” 2.40      2.40      $551.45   E
03/12/2021   “t/c Phillip Lear re:    1.20     0.90      $206.79   C
             local counsel, attention
             to filing complaint”



03/20/2021   “revise/review memo     2.40      2.40      $551.45   E
             re: case status,
             revise/review
             complaint documents”
03/27/2021   “revise/review          2.60      2.60      $597.40   E
             complaint”
03/28/2021   “revise/review          0.60      0.60      $137.86   E
             complaint”
03/30/2021   “revise/review memo     1.10      1.10      $252.75   E
             re: filing”
04/01/2021   “revise/review          0.80      0.80      $183.82   E
             complaint”
04/06/2021   “revise/review          1.10      1.10      $252.75   E
             summons”
04/19/2021   “attn to service”       0.40      0         0         C
04/26/2021 “attn to service”         0.30      0         0         C




                                                   2
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Date          Pl’s Description           Hours   Hours   Amount    Reasoning
                                         Claimed Awarded Awarded


06/07/2021    “reviewing pleadings, t/c 1.20     1.20    $275.72   E
              Lear re: same, research
              re: same”
06/08/2021    “revise/review memo re: 0.90       0        0        B
              filing”


06/15/2021    “attn to magistrate       0.90     0        0        C
              consent form”
06/17/2021    “revise/review memo re: 0.80       0.80    $183.82   E
              production/schedule”
06/18/2021    “revise/review proposed 2.30       2.30    $528.47   E
              schedule”
06/21/2021    “attn to proposed         0.90     0.90    $206.79   E
              schedule”
06/22/2021    “revise/review memo re: 1.40       1.40    $321.68   E
              case status/strategy”
06/24/2021    “revise/review response 2.60      2.60     $597.40   E
              to court order”
06/28/2021    “reviewing pleadings,     3.60     3.60    $827.17   E
              research re: same,
              revise/review memo re:
              same, reviewing
              production, revise/review
              objection”
07/12/2021    “t/c Linda, revise/review 1.20     0.90    $206.79   B
              memo re: case status,
              additional claims”
07/22/2021    “revise/review memo re: 0.40       0.40    $91.91    E
              case status”
08/02/2021    “revise/review memo re: 0.90       0        0        B
              additional denials”


08/09/2021    “t/c Phillip Lear – prep   1.40    1.40    $321.68   E
              for hearing”

08/10/2021    “prep for and attend case 2.70     2.70    $620.38   E
              management conference”




                                                     3
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Date             Pl’s Description        Hours     Hours        Amount     Reasoning
                                         Claimed   Awarded      Awarded


08/11/2021       “attn to appeals,      0.40       0            0         B
                 revise/review memo re:
                 same”

08/25/2021       “revise/review motion 2.70        2.70         $620.38 E
                 re: answer”
08/27/2021       “revise/review motion 2.60        2.60         $597.40 E
                 re: answer”
08/31/2021       “revise/review reply re: 2.10     2.10         $482.52 E
                 answer”
09/01/2021       revise/review reply re: 2.10      2.10         $482.52 E
                 scheduling
09/02/2021       “revise/review reply re: 3.40     3.40         $781.22 E
                 scheduling”




09/05/2021       “revise/review MSJ re: 3.60       3.24         $744.45 F
                 CMS 1682-R,
                 revise/review MSJ re:
                 collateral estoppel”
09/06/2021       “revise/review MSJ re: 6.50       5.85         $1,344.15 F
                 CMS 1682-R,
                 revise/review MSJ re:
                 collateral estoppel”
09/07/2021       “revise/review MSJ re: 11.40      10.26        $2,357.44 F
                 CMS 1682-R.
                 revise/review MSJ re:
                 collateral estoppel”
09/10/2021       “revise/review Rule 11 2.40       0            0         B1
                 motion”



09/13/2021       “revise/review Rule 11 2.10       0            0         B
                 motion”




                                    
       1
           No motion under Federal Rule of Civil Procedure 11 appears to have been filed in this case.
                                                      4
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Date         Pl’s Description           Hours     Hours     Amount    Reasoning
                                        Claimed   Awarded   Awarded


09/14/2021   “revise/review Rule 11     2.30      0         0         B
             motion”



09/21/2021   “reviewing opposition to 1.40        1.26      $289.51   F
             motions for summary
             judgement, research re:
             same”
09/22/2021   “revise/review reply re: 3.70        3.33      $765.13   F
             summary judgements”
09/23/2021   “revise/review reply re: 4.10        3.69      $847.85   F
             summary judgements”
09/24/2021   “revise/review reply re: 5.20        4.68      $1,075.32 F
             summary judgements”
09/28/2021   “reviewing court orders, 1.10        1.10      $252.75   E
             revise/review memo re:
             same, t/c Phil Lear re:
             same”
10/03/2021   “revise/review reply re: 3.70        3.33      $765.13   F
             collateral estoppel/CMS
             1682”
10/04/2021   “revise/review reply re: 6.40        5.76      $1,323.48 F
             collateral estoppel/CMS
             1682”
10/04/2021   “Revision of papers.”    1.50        1.35      $310.19   F

10/05/2021   “Edits to filing.”         0.75      0.675     $155.09   F

10/05/2021   “revise/review reply re:   6.10      5.49      $1,261.44 F
             collateral estoppel/CMS
             1682”
10/18/2021   “attn to revise/review     3.40      3.40      $781.22   E
             filing regarding
             scheduling”
10/26/2021   “revise/review opposition 3.70       3.33      $765.13   F
             to cross- motion re: CMS
             1682-R”
01/04/2022   “revise/review motion for 1.50       1.50      $358.10   E
             status, t/c opposing
             counsel”




                                                      5
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Date         Pl’s Description            Hours      Hours      Amount      Reasoning
                                         Claimed    Awarded    Awarded

01/05/2022   “revise/review motion for 1.10         1.10       $262.60     E
             status”
01/07/2022   “revise/review memos re: 0.50          0.50       $119.37     E
             status conference”

01/07/2022 - Secretary files ECF 51, renewing confession of error, and proposing
judgment in plaintiff’s favor.
01/08/2022   “reviewing opp to motion 0.80          0.80       $190.98     E
             for status conference”
01/16/2022   “t/c plaintiffs in all cases 1.50      0          0          B
             re: global settlement”
01/18/2022   “conf with plaintiffs in all 0.50      0          0          B
             cases re: settlement”

01/19/2022 – Court remands case to the Secretary with directions to pay plaintiff’s three
Medicare reimbursement claims, denies pending summary judgment motions as moot,
and enters judgment. ECF 51; ECF 52.
01/27/2022   “t/c Stanley re: motion to 6.20        0          0          D
             alter/amend,
             revise/review same”

01/28/2022   “revise/review motion to 2.40          0          0          D
             alter/amend”
01/31/2022   “revise/review motion to 5.40          0          0          D
             alter/amend, t/c Stanley
             re: same”
02/23/2022   “attn to ALJ appeal,        4.60       0          0          D
             revise/review motion to
             alter/amend”
02/24/2022   “revise/review motion to 2.40          0          0          D
             alter/amend”
02/08/2022   “reviewing denial of        1.10       0          0          D
             motion to alter/amend”




                                                     6
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Date         Pl’s Description         Hours   Hours      Amount      Reasoning
                                      Claimed Awarded    Awarded

02/21/2022 “attn to notice of appeal” 1.40    0          0          D




02/23/2022 “attention to appeal       0.80    0          0          D
           filing”



02/24/2022 “attention to appeal       1.10    0          0          D
           filing”




 7RWDOKRXUVDQGIHHVIRU3DUULVK 103.65           $23849.45
 /DZ 2 IILFHV                        hours




         2. Attorney’s Fees Billed by Lear & Lear LLP (ECF No. 66-2 at 45–47)

Date         Pl’s Description        Hours   Hours       Amount     Reasoning
                                     Claimed Awarded     Awarded


03/26/2021 “Prepare Motion for        0.80    0.80      $183.82     E
           Admission Pro Hac Vice
           and proposed order and
           transmit to J. Pistorino.”
04/01/2021 “Revise complaint and     2.50     2.20       $505.49    C
           transmit to J. Pistorino;
           upload revised Civil
           Cover Sheet, Motion Pro
           Hac Vice, and
           Complaint; telephone
           conference with J.
           Pistorino re complaint.”
04/02/2021 “Assemble pleadings and 1.00       0.50       $114.89    C
           transmit Civil Cover
           Sheet and Complaint to
           court for case number
           assignment; telephone
           conferences with J.
           Pistorino.”

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Date              Pl’s Description          Hours   Hours         Amount     Reasoning
                                            Claimed Awarded       Awarded


04/05/2021 “Transmit Civil Cover      1.50           0.75         $172.33    C
           Sheet and Complaint to
           court clerk for case
           number assignment;
           upload and file Civil
           Cover Sheet, Complaint,
           and Motion for
           Admission Pro Hac Vice;
           telephone conferences
           with J. Pistorino re
           same.”
04/06/2021 “Prepare summonses for 1.40               0           0           C
           Becerra, M. Garland, and
           A. Martinez and file
           same; download court-
           signed summonses and
           copy of Complaint and
           Civil Cover Sheet for
           service upon same; serve
           process by certified
           mail.”
04/23/2021 “Track Becerra service 0.10               0           0           C
           of summons and confirm
           same.”
04/26/2021 “Prepare Motion for        0.80           0           0           B2
           Admission Pro Hac Vice
           and proposed order and
           transmit to J. Pistorino.”




08/09/2021 “Zoom conference with J. 0.90             0.90         $206.79    E
           Pistorino in preparation
           for tomorrow’s court
           hearing.”




                                     
       2
           Mr. Pistorino’s Motion for Admission for Pro Hac Vice was granted before this date. See Dkt. No. 3.
                                                         8
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Date         Pl’s Description          Hours   Hours     Amount    Reasoning
                                       Claimed Awarded   Awarded


08/10/2021 “Zoom court hearing        0.90    0.90       $206.79   E
           before Judge Pead re
           motion for order directing
           filing of Answer and
           certified admin record.”

08/27/2021 “Prepare Motion to          1.20   1          $229.77   C
           Amend Scheduling
           Order and file same and
           proposed order;
           telephone and email
           correspondence with J.
           Pistorino.”
10/05/2021 “Finalize and file          2.20   1.98       $454.94   F
           Plaintiffs Reply to
           Motion for Summary
           Judgement and to
           Vacate; finalize and file
           Plaintiff's Reply to
           Motion for Summary
           Judgment on Collateral
           Estoppel.”
10/26/2021 “Prepare Plaintiff's        0.60   0.54       $124.08   F
           Opposition to Cross-
           Motion and file same.”
01/31/2022 “Read court rules re       0.70    0          0         D
           requirement, if any, to
           contact the court prior to
           seeking a hearing on a
           motion to amend or alter
           judgement and report
           findings to J. Pistorino.”
02/04/2022 “Read and revise Smith's 0.70      0          0         D
           Motion to Alter and
           Amend Judgment and
           return to J. Pistorino
           with comments.”




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Date          Pl’s Description       Hours   Hours     Amount    Reasoning
                                     Claimed Awarded   Awarded


03/04/2022 “Prepare Unopposed        1.70   0          0         D
           Motion to Expedite
           Appeal and Entry of
           Appearance and
           Designation of Interested
           Persons, transmit to J.
           Pistorino for comment;
           transmit Application of
           Admission to J.
           Pistorino.”
03/07/2022 “Telephone conference 1.30       0          0         D
           with J. Pistorino; revise
           Entry of Appearance and
           Unopposed Motion to
           Expedite Appeal and file
           same; serve opposing
           counsel via email;
           forward 10th Circuit
           order granting motion to
           J. Pistorino.”
03/10/2022 “Prepare Unopposed        1.70   1.70       $405.84   E
           Motion to Stay Briefing
           on Attorneys Fees,
           proposed order, and
           docketing statement; file
           motion and order with
           Utah District Court; file
           docketing statement with
           Tenth Circuit; serve
           documents via email on
           opposing counsel;
           telephone conference
           with Utah District Court
           re filing.”
03/11/2022 “Register with Counsel    0.20   0          0         D
           Press for filing paper
           copies of required
           filings.”




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 Date           Pl’s Description            Hours   Hours          Amount       Reasoning
                                            Claimed Awarded        Awarded


 03/14/2022 “Prepare opening                1.10        0         0             D
            appellate brief; discuss
            comments with J.
            Pistorino; prepare and
            file Unopposed motion
            to extend date for filing
            appeal; transmit order
            granting same to J.
            Pistorino.”
 03/15/2022 “Prepare opening         1.30               0         0             D
            appellate brief and
            discuss comments with J.
            Pistornio [sic]; upload
            volumes 1 and 2 of
            appendix to brief; file
            opening brief and
            Appendices I and II;
            forward court's filing
            confirmation to J.
            Pistorino.”
 03/18/2022 “File Corrected          0.40               0         0             D
            Appelant’s [sic] Opening
            Brief and Appendices
            Vol. I and II; transmit
            court filing
            confirmations to J.
            Pistorino.”


                                                        11.27      $2,604.74
        Total hours and fees for Lear & Lear
        LLP

 Plaintiff also requested an additional 12.75 hours for litigating fees that were not included
 on the above chart. 31% of these hours will be granted, adding 3.95 hours or $1,021.71
 to the overall total, because Plaintiff’s fee litigation was only partially successful—the
 court will grant roughly 31% of the $84,980 in fees that Plaintiff originally requested. See
 Dkt. No. 66 at 12, 15.


OVERALL TOTAL =                                                   118.87 hours $27,475.90
                                                                               


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                                               KEY

* Amount Awarded

       Both parties agree that Plaintiff is entitled to reasonable attorney fees under 28 U.S.C.

§ 2412(d)(1)(A). The Secretary concedes that his litigating “position” was not “substantially

justified,” and he does not argue “that special circumstances make an award” under Section

2412(d)(1)(A) “unjust.” Id.; see also Dkt. No. 75 at 5 n.2.

       The parties disagree whether Plaintiff is entitled to fees under 28 U.S.C. §§ 2412(b) and

2412(c)(2), which apply if the Secretary “acted in bad faith.” This dispute is significant because

fees under Section 2412(b) are awarded to the extent available “under the common law” at the

prevailing market rate, but fees under Section 2412(d)(1)(A) fees are awarded at a statutory rate

of $125 per hour, subject to adjustments for increased living costs. Compare Sullivan v. Sullivan,

958 F.2d 574, 577 n.8 (4th Cir. 1992), with 28 U.S.C. § 2412(d)(2)(A).

       Plaintiff argues that the Secretary acted in bad faith because (1) before this litigation

began, the Secretary denied her claims; (2) the Secretary stated that Plaintiff should not receive

“any relief whatsoever” in his answer to her complaint; and (3) the Secretary argued that the

court lacked jurisdiction to grant any relief other than affirming, modifying, or reversing the

Secretary’s denial of Plaintiff’s claims, or remanding the case to the Secretary. See Dkt. No. 66

at 10–12 (quoting Dkt. No. 24 at 22–23).

       The court disagrees that the Secretary acted in bad faith. “The Government acts in bad

faith when its claim [or defense] (1) is entirely without color and (2) has been asserted wantonly,

for purposes of harassment or delay, or other improper reason[s].” F.T.C. v. Freecom Commc’ns,

Inc., 401 F.3d 1192, 1196–97 (10th Cir. 2005). Plaintiff’s first argument fails because the

common law “bad faith” incorporated into Section 2312(c)(2), see id. at 1196, “does not reach



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purely prelitigation bad-faith conduct” like the Secretary’s initial denial of Plaintiff’s claims,

Towerridge, Inc. v. T.A.O., Inc., 111 F.3d 758, 766 (10th Cir. 1997). Plaintiff’s second argument

fails because the Secretary’s answer to her complaint was not “asserted . . . for improper

reason[s].” Freecom, 401 F.3d at 1197. The Secretary confessed error, offering to pay one of

Plaintiff’s claims and reconsider the other two, see Dkt. No. 10, but Plaintiff rejected this offer

and chose to pursue remedies that the Secretary believed were unavailable, see Dkt. Nos. 17, 28,

29, 31. Because Plaintiff did so, the court concludes that it was not improper for the Secretary to

issue a general denial and thus put Plaintiff to her proof. Finally, the court cannot conclude that

the Secretary’s jurisdictional argument was “entirely without color” because the court itself

accepted his argument. See Dkt. No. 55.

        Plaintiff is therefore entitled to fees under only Section 2412(d)(2)(A). Both parties agree

that under Section 2412(d)(2)(A), the court may award attorney fees in excess of the $125 per

hour statutory limit if it determines “that an increase in the cost of living . . . justifies a higher

fee,” 28 U.S.C. § 2412(d)(2)(A), and that in this case the Consumer Price Index should be used

to increase the statutory rate, see Dkt. Nos. 66 at 14, 75 at 6–7. All work that occurred in 2021

will be compensated at a rate of $229.77 per hour. All work that occurred in 2022 will be

compensated at a rate of $238.73 per hour. All work that occurred in 2023 will be compensated

at a rate of $258.66 per hour.

A: Hours expended on advocacy before the agency will be fully excluded.

        Under Section 2412(d)(1)(A), the court shall award to the prevailing party fees and other

expenses “incurred by that party in any civil action . . . , including proceedings for judicial

review of agency action, brought by or against the United States in any court having jurisdiction

of that action.” 28 U.S.C. § 2412(d)(1)(A). Although the plain language of the statute thus



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appears to contemplate that the prevailing party may recover only those fees incurred in judicial

proceedings seeking review of agency action and not fees incurred in agency proceedings, the

Supreme Court has stated that “administrative proceedings may be so intimately connected with

judicial proceedings as to be considered part of the ‘civil action’ for purposes of a fee award.”

Sullivan v. Hudson, 490 U.S. 877, 892 (1989).

        The Supreme Court subsequently clarified that its holding in Hudson was only “that fees

incurred during administrative proceedings held pursuant to a district court's remand order

could be recovered under EAJA.” Shalala v. Schaefer, 509 U.S. 292, 298 (1993) (emphasis

added); see also Melkonyan v. Sullivan, 501 U.S. 89, 96–97 (1991) (stating that Hudson “stands

for the proposition that in those cases where the district court retains jurisdiction of the civil

action and contemplates entering a final judgment following the completion of administrative

proceedings, a claimant may collect EAJA fees for work done at the administrative level”).

Lower courts have likewise recognized that “Hudson’s holding is limited to cases in which there

is a post-litigation remand for further administrative proceedings.” Friends of Boundary Waters

Wilderness v. Thomas, 53 F.3d 881, 887 (8th Cir. 1995) (citing Full Gospel Portland Church v.

Thornburgh, 927 F.2d 628, 631 (D.C. Cir. 1991), and Pollgreen v. Morris, 911 F.2d 527, 527,

535 (11th Cir. 1990)); see also Nadarajah v. Holder, 569 F.3d 906, 919 (9th Cir. 2009).

        The administrative proceedings here occurred prior to the commencement of the civil

action, not pursuant to a remand order. The court will accordingly award no attorneys’ fees for

work completed at the agency level.

B: Hours not sufficiently documented or having no clear nexus with case
will be fully or partially excluded.
        “Counsel for the party claiming the fees has the burden of proving hours to the district

court by submitting meticulous, contemporaneous time records that reveal, for each lawyer for


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whom the fees are sought, all hours for which compensation is requested and how those hours

were allotted to specific tasks.” Case v. Unified Sch. Dist. No. 233, Johnson Cnty., Kan., 157

F.3d 1243, 1250 (10th Cir. 1998). And the “district court is justified in reducing the reasonable

number of hours if the attorney’s time records are sloppy and imprecise and fail to document

adequately how he or she utilized large blocks of time.” Id. (cleaned up). The court will not

award fees for billing entries that are insufficiently detailed or appear unrelated to the case at

hand. For entries that appear to involve both work that is related to the case and unrelated work,

the court will reduce the fees awarded.

C: Hours spent in full or in part on clerical tasks will be fully or partially
excluded.
        Under Section 2412(d)(2)(A), the “fees and other expenses” to which a prevailing party is

entitled include “reasonable attorney fees.” 28 U.S.C. § 2412(d)(2)(A) (emphasis added).

“[P]urely clerical or secretarial tasks” should not be billed at an attorney’s rate. Missouri v.

Jenkins ex rel. Agyei, 491 U.S. 274, 288 n.10 (1989). Because it is not reasonable to charge an

attorney’s rate for clerical tasks, this court will not award fees for billing entries that describe

work that is purely clerical in nature. Where billing entries appear to describe both work that is

properly performed by an attorney and work that appears clerical in nature, the court will reduce

the fees awarded.

D: Hours spent solely on unsuccessful legal advocacy will be fully excluded.

        The standards for determining a reasonable fee award set forth in Hensley v. Eckerhart

apply “in all cases in which Congress has authorized an award of fees to a ‘prevailing party.’”

461 U.S. 424, 433 n.7 (1983). In cases where a plaintiff presents “distinctly different claims for

relief that are based on different facts and legal theories” such that “counsel’s work on one claim

will be unrelated to his work on another claim,” “work on an unsuccessful claim cannot be


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deemed to have been expended in pursuit of the ultimate result achieved,” and “therefore no fee

may be awarded for services on the unsuccessful claim.” Id. at 434–35 (internal quotation marks

and quoted source omitted). “In other cases[,] the plaintiff’s claims for relief will involve a

common core of facts or will be based on related legal theories” such that it will be “difficult to

divide the hours expended on a claim-by-claim basis.” Id. at 435.

       In such cases, the “district court should focus on the significance of the overall relief

obtained by the plaintiff in relation to the hours reasonably expended on the litigation.” Id.

“[T]he most critical factor is the degree of success obtained.” Id. at 436. On the one hand,

“[w]here a plaintiff has obtained excellent results, his attorney should recover a fully

compensatory fee” even if the plaintiff “raise[d] alternative legal grounds for a desired outcome”

and the court rejected or failed “to reach certain grounds” because “[t]he result is what matters.”

Id. at 435. On the other hand, if the “plaintiff has achieved only partial or limited success” the

total hours spent on the litigation “may be an excessive amount . . . even where the plaintiff’s

claims were interrelated, nonfrivolous, and raised in good faith.” Id. at 436.

       In this case, the result obtained by Plaintiff was the Secretary’s second confession of

error followed by a judgment remanding the case to the Secretary with instructions to pay all

three of her claims. She did not, however, obtain the sweeping equitable relief that she requested,

either from this court or on appeal. To be sure, the Secretary ultimately changed its rules

regarding continuous glucose monitors—essentially the result Plaintiff sought to achieve by

judicial order—but this result was not achieved through this litigation. As the Supreme Court has

explained, “[a] defendant’s voluntary change in conduct, although perhaps accomplishing what

the plaintiff sought to achieve by the lawsuit, lacks the necessary judicial imprimatur on the




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change” to support an award of attorneys’ fees. Buckhannon Bd. & Care Home, Inc. v. West

Virginia Dep’t of Health & Human Res., 532 U.S. 598, 605 (2001).

       The court thus concludes that Plaintiff is not entitled to compensation for her attempts to

obtain equitable relief. But Plaintiff’s unsuccessful prayer for equitable relief and her successful

prayer for payment both “involve[d] a common core of facts” and were “based on related legal

theories.” Hensley, 461 U.S. at 435. Much of counsel’s time, therefore, was “devoted generally

to the litigation as a whole, making it difficult to divide the hours expended on a claim-by-claim

basis.” Id. It follows that the court must “focus on the significance of the overall relief obtained

by the plaintiff in relation to the hours reasonably expended on the litigation.” Id. The court has

discretion “to identify specific hours that should be eliminated, or it may simply reduce the

award to account for the limited success.” Id. at 436–37. “There is no precise rule or formula for

making these determinations” and the “court necessarily has discretion in making this equitable

judgment.” Id.

       Exercising its discretion, the court will not award fees for billing entries that appear to

involve only Plaintiff’s unsuccessful attempts to obtain equitable relief.

E: Hours spent on successful advocacy will be awarded in full.

       The court will award fees without reduction for billing entries that appear to involve only

Plaintiff’s successful attempts to obtain payment on her claims or at least do not appear to

involve significant work on her unsuccessful attempts to obtain equitable relief.

       To be sure, the Secretary argues that because Plaintiff did not “obtain judicial relief” on

her collateral estoppel claims, the court “should decline fees for the work spent on them.” Dkt.

No. 75 at 8. The Secretary also argues that the court should award only partial compensation for




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the work performed by Plaintiff’s counsel between the Secretary’s first and second confessions

of error. See id. at 9–10. The court disagrees with both arguments.

       As for the first argument, the court never reached the merits of Plaintiff’s collateral

estoppel claim because it accepted the Secretary’s second confession of error and remanded

Plaintiff’s claims for payment—the same relief the court would have ordered had Plaintiff

prevailed on her collateral estoppel argument. And as the Supreme Court has explained, “[t]he

result is what matters.” Hensley, 461 U.S. at 435. A court’s “failure to reach certain grounds is

not a sufficient reason for reducing a fee.” Id..

       As for the second argument, Plaintiff was under no obligation to accept the Government’s

first confession of error because it did not offer her the full relief she was seeking and would

have required her to relitigate two of her claims before the agency. And the court has little doubt

that the successful result Plaintiff received—a remand for payment of her claims—was a result

of her refusal to accept the Government’s first confession of error and her continued litigation.

F: Hours spent on intermingled work including unsuccessful advocacy will
be reduced by 10%.
       For billing entries that appear to involve work relevant both to Plaintiff’s successful

prayer for payment of her claims and her unsuccessful prayer for equitable relief, or work that

otherwise cannot be readily allocated between her successful and unsuccessful prayers for relief,

this court will reduce the fees sought by ten percent. Most of these billing entries involve work

on Plaintiff’s two motions for summary judgment, see Dkt. Nos. 28 & 29, her two replies in

support of those motions, see Dkt. Nos. 37 & 38, and her response to the Secretary’s cross-

motion for summary judgment, see Dkt. No. 46. Taken together, these documents comprise

approximately 62 pages of text. Based on a rough estimation, it appears to the court that about

6.5 of these pages—approximately ten percent of the total pages—exclusively address Plaintiff’s


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prayer for equitable relief. Using this ratio as a proxy for the amount of work expended solely on

unsuccessful legal theories, the court will reduce the fees Plaintiff seeks for this category of

billing entries by ten percent.




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